
Cole, J.
The transcript does not disclose tbe evidence upon'which the court below acted, and since, in certain cases, the costs are in the discretionary power of the court (Rev. § 3465, and other sections), we cannot properly interfere with its action unless the record discloses that the case was not within the discretion of the court, or that the discretion was improperly exercised. Arthur v. Funk, 22 Iowa, 238; Packer v. Packer, 24 id. 20; Burton v. Mason, 26 id. 392; Scott's adm'r v. Cole &amp; Allen, 27 id. 109. Neither is shown in this case. The only facts shown, bearing upon the question, are set forth in the statement preceding this opinion.
Affirmed.
